                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

 Tremell Washington,

                           Plaintiff,                    C/A No.: 3:24-cv-02651-MGL-SVH

 v.
                                                           JOINT STIPULATION OF
                                                         DISMISSAL WITH PREJUDICE
 Palmetto State Armory LLC,

                           Defendant.


       PURSUANT TO RULE 41(a)(1), FRCP, Plaintiff and Defendant hereby agree and

stipulate that this action should be dismissed with prejudice. The parties shall bear their own costs

and attorneys’ fees.



Respectfully submitted,


 CROMER BABB & PORTER, LLC                         BURR & FORMAN LLP

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Columbia, South Carolina
